Case 1:20-cr-00539-JPC Document8 Filed 10/15/20 Pagei1of1

 

 

 

 

 

 

 

 

 

USDC SDNY
DOCUMENT Matth 31, 2020
ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT DOC #: a
SOUTHERN DISTRICT OF NEW YORK DATE FILED: _10['9] 2020
UNITED STATES OF AMERICA, ONSET To ppacrenny
VIDEOCONFERENCE
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20 69.939)
Adam Rogas ,
Defendant(s).
25 x
Defendant “dam Rogas hereby voluntarily consents to

 

participate in the following proceeding via videoconferencing:
____—_—siInitial Appearance/Appointment of Counsel

x Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
Indictment Form)

Preliminary Hearing on Felony Complaint

Bail/Revocation/Detention Hearing

Status and/or Scheduling Conference

Misdemeanor Plea/Trial/Sentence

Ath fon d3-97, KD ee
a! 5 fe A,
Defendant’s Signaturé f Defense Counsel’s Signature

(Judge may obtain verbal consent on
Record and Sign for Defendant)

Adam Rogas William M. Sullivan, Jr.

Print Defendant’s Name Print Defense Counsel’s Name

 

 

 

This proceeding was conducted by reliable videoconferencing technology.

jy s/22 WFO
Date Us. District Judgayuss. Magistrate Judge
